      Case
    Case:   2:15-cv-01541-CCW
          17-2974                Document 264 Page:
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                                                          Date Filed:    1 of 2
                                                                      01/02/2019


        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                        No. 17-2974

                                In Re: RBS Citizens, N.A.,
                                                      Petitioner

                        (Related to W.D. Pa. No. 2-15-cv-01541)

Present: MCKEE, VANASKIE, and RESTREPO, Circuit Judges

       1. Petition for Writ of Mandamus filed by Petitioner RBS Citizens, N.A.;

       2. Response by Nominal Respondent to Petition for Writ of Mandamus;

       3. Response by Respondent in Opposition to Petitioner’s Petition for Writ of
          Mandamus;

       4. Reply by Petitioner In Further Support of Petition for Writ of Mandamus;

       5. Sur-Reply with Supplemental Appendix by Respondent;

       6. Supplemental Response by Nominal Respondent to Petition for Writ of
          Mandamus.

                                                                  Respectfully,
                                                                  Clerk/pdb

_________________________________ORDER________________________________
The foregoing petition for writ of mandamus is dismissed as moot.

                                                                  By the Court,

                                                                  s/ Thomas I. Vanaskie
                                                                  Circuit Judge

Dated: January 2, 2019
LML/cc: All counsel of record
                                   A True Copy :

                                                                                          A True Copy :



                                                                                                 Marcia M . Waldron, Clerk




                                         Patricia S. Dodszuweit, Clerk



 This matter was decided and the order signed and directed to the Clerk's Office before
Judge Vanaskie retired on January 1, 2019. Due to the intervening holiday, the order has
been entered on the docket by the Clerk this day.
        Case
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                       Document: 003113122324     Filed1 01/02/19    Page
                                                            Date Filed:    2 of 2
                                                                        01/02/2019



                                          OFFICE OF THE CLERK


PATRICIA S. DODSZUWEIT        UNITED STATES COURT OF APPEALS                       TELEPHONE
        CLERK                              FOR THE THIRD CIRCUIT                 215-597-2995
                                      21400 UNITED STATES COURTHOUSE
                                             601 MARKET STREET
                                         PHILADELPHIA, PA 19106-1790
                                Website: www.ca3.uscourts.gov

                                          January 2, 2019


Joshua Lewis, Clerk
United States District Court for the Western District of Pennsylvania
Joseph F. Weis Jr. United States Courthouse
700 Grant Street
Pittsburgh, PA 15219


RE: In re: RBS Citizens, N.A.
Case Number: 17-2974
District Court Case Number: 2-15-cv-01541


Dear Clerk:

Enclosed please find certified copy of the order filed today dismissing the petition for
writ of mandamus as moot in the above-entitled case.

Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/ Pam/lml
Case Manager
267-299-4943

cc:      Honorable Arthur J. Schwab
         Joshua S. Boyette, Esq.
         Daniel A. Horowitz, Esq.
         Robert D. Soloff, Esq.
         Justin L. Swidler, Esq.
         Kim M. Watterson, Esq.
